Case 7:21-cr-00337-PMH Document 53 Filed 11/03/21 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
: CONSENT PRELIMINARY ORDER
-V.- OF FORFEITURE/
: MONEY JUDGMENT
DION JOYCE,
S121 Cr. 337 (PMH)
Defendant.
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WHEREAS, on or about June 15, 2021, DION JOYCE (the “Defendant”), was
charged in a one-count Superseding Information, $1 21 Cr. 337 (PMH) (the “Information”), with
conspiracy to commit interstate transportation of stolen property, in violation of Title 18, United
States Code, Section 371 and 2314 (Count One);

WHEREAS, the Information included a forfeiture allegation as to Count One of the
Information, seeking forfeiture to the United States, pursuant to Title 18, United States Code,
Section 981({a)(1})(C) and Title 28, Unites States Code, Section 2461, of all property, real and
personal, that constitutes or is derived from proceeds traceable to the commission of the offense
charged in Count One of the Information;

WHEREAS, on or about June 22, 2021, the Defendant pled guilty to Count One of
the Information, pursuant to a plea agreement with the Government, wherein the Defendant
admitted the forfeiture allegation with respect to Count One of the Information and agreed to forfeit
to the United States, pursuant to Title 18, United States Code, Section 981(a){1)(C) and Title 28,
United States Code, Section 2461 (c): a sum of money equal to $27,458 in United States currency,
representing proceeds traceable to the commission of the offense charged in Count One of the

Information (the “Money Judgment”);

 
Case 7:21-cr-00337-PMH Document 53 Filed 11/03/21 Page 2 of 4

WHEREAS, the Defendant consents to the entry of a money judgment in the
amount of $27,458 in United States currency representing the amount of proceeds traceable to the
commission of the offense charged in Count One of the Information that the Defendant personally
obtained; and

WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, the proceeds traceable to the commission of the offense charged in Count One of the
Information that the Defendant personally obtained cannot be located upon the exercise of due
diligence.

ITIS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Damian Williams, United States Attorney, Assistant United States
Attorney, COURTNEY HEAVEY, of counsel, and the Defendant, and his counsel, HOWARD E.
TANNER, ESQ., that:

1. As aresult of the offense charged in Count One of the Information, to which
the Defendant pled guilty, a money judgment in the amount of $27,458 in United States currency
(the “Money Judgment’), representing the proceeds traceable to the commission of the offense
charged in Count One of the Information that the Defendant personally obtained, shall be entered
against the Defendant,

2. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, DION
JOYCE, and shall be deemed part of the sentence of the Defendant, and shall be included in the
judgment of conviction therewith.

3. All payments on the outstanding money judgment shall be made by postal

money order, bank or certified check, made payable, in this instance, to the United States Marshals
Case 7:21-cr-00337-PMH Document 53 Filed 11/03/21 Page 3 of 4

Service, and delivered by mail to the United States Attorney’s Office, Southern District of New
York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s
Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

4, The United States Marshals Service is authorized to deposit the payments
on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title
to such forfeited property.

5. Pursuant to Title 21, United States Code, Section 853(p), the United States
is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount
of the Money Judgment.

6. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate
or dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents and the issuance of subpoenas.

7. The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

 
Case 7:21-cr-00337-PMH Document 53 Filed 11/03/21 Page 4 of 4

8. The signature page of this Consent Preliminary Order of Forfeiture/Money

Judgment may be executed in one or more counterparts, each of which will be deemed an original

but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

DAMIAN WILLIAMS
United States Attorney for the
Southern District of New York

py, Coviage Hsu

 

COURTNEY HEAVEY, ESQ.
T. JOSIAH PERTZ

Assistant United States Attorney
300 Quarropas Street

White Plains, NY 10601

(914) 993-1927/1966

DION JOYCE

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—
HOWARD E. TANNER, ESQ.
Attorney for Defendant
175 Main Street, Suite 800
White Plains, NY 10601

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HONORABLE PHILIP M. HALPERN
UNITED STATES DISTRICT JUDGE

10/22/21

DATE

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